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                                     ORDERED.

     Dated: July 24, 2019




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 IN RE:                                                         CASE NO.: 6:19-bk-03237-CCJ
                                                                                CHAPTER 7
 Jose M Rodriguez aka Jose M Rodriguez
 Quinones aka Jose Manuel Rodriguez,
          Debtor.
 _________________________________/


              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Wilmington Trust National
Association, as Successor Trustee to Citibank, N.A., as trustee for the Merrill Lynch Mortgage
Investors Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-HE2’s (“Secured
Creditor”) Motion for Relief from Stay (Docket No. 14). No appropriate response has been filed
in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 1370 Park Ave, Orange City, FL


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       32763 in Volusia County, Florida, legally described as follows:




   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $350.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


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Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.




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